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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION


KRYPTEK OUTDOOR GROUP, LLC

       Plaintiff,
v.                                                            CASE NO.: 15-cv-348

SALT ARMOUR, INC.,
ALPHA DEFENSE, INC., AND
THOMAS J. DE SERNIA,

      Defendants.
___________________________________/

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       The Plaintiff, Kryptek Outdoor Group, LLC, and the Defendants, Salt Armour, Inc.,

Alpha Defense, Inc., and Thomas J. De Sernia, pursuant to the Federal Rules of Civil Procedure

and the Local Rules of the United States District Court for the Eastern District of Texas, hereby

stipulate and agree as follows:

       1.      The parties have amicably resolved this matter and have entered into a

“Confidential Settlement Agreement” setting forth the terms of the settlement.

       2.      Pursuant to the “Confidential Settlement Agreement” and Fed R. Civ. P.

41(a)(1)(A)(ii), the parties stipulate to the entry of, and respectfully request that this Court enter

the attached Order, vacating the Final Judgment and Permanent Injunction [D.E.23], dismissing

this case with prejudice and reserving jurisdiction to enforce the terms of the Confidential

Settlement Agreement.

       Respectfully submitted this 27th day of November, 2017.
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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was filed
electronically on November 27, 2017 and pursuant to Local Rule CV-5(a)(3)(A), the Notice of
Electronic Filing from the court is proof of service of the document on all counsel who are
deemed to have consented to electronic service.



                                             /s/ Thomas L. Warden
                                             Thomas L. Warden
